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UNITED sTATES DISTRICT CoU§§ii §§'»§»§§§§: i§§§§§§*‘”
CENTRAL DISTRICT oF cALIFoRNIA gai/§§
§§ '/ `

ANTHONY W. RECTOR, CASE NUMBER

PLAINTIFF(S) sAcy 13-01897 UA (DUTYX>

V.
RECEIVABLES PERFGRMANCE
MANAGEMENT, a ai., orman RE LEAVE To FILE AcTioN
DEFENDANT(S)‘ wiTHoUT PREPAYMENT oF FILING an

 

 

IT IS ORDERED that the complaint may be filed without prepayment of the filing fee.

Further proceedings in this matter are subject to the orders of the Judge to whom the case is assigned.

 

 

Date United States Magistrate Judge

IT IS RECOMMENDED that the request of plaintiff/petitioner to file the action without prepayment of the
filing fee be DENIED for the following reason(s):

[Xl Inadequate showing of indigency l:l District Court lacks jurisdiction
lly and/or factually patently frivolous [:| lmmunity as to

 

g ()th@r; Plaintift`s lFP declaration is inconsistent with his lFP declaration in CV l3~()1896. Plaintiff has also
had prior lFP declarations denied for the same reason. See CV 13-6058, 08/27/13 Order (GHK) 12].

Comments:

The Court notes Plaintiff has filed at least 3 prior lFP declarations that were denied because they were
incomplete, contained allegations that were inconsistent with prior lFP declarations, and/or were accompanied by
complaints with claims the Court lacked jurisdiction to consider or stated claims found to be frivolous, malicious
and failing to state a claim for relief. See CV lO-l46, CV 12-3207, and CV 12-3210.

December l(), 2013 /s/ ARTHUR NAKAZATO
Date

 

United States Magistrate Judge

IT lS ()RDERED that the, request of plaintiff to file the actio ithout prepayment of the filing fee is:

 

 

l:l GRANTED ` ENIED (See comments above)
vi t ii t § z VW\¢T
Date § United States District Ju¢/ge\

 

CV»73A (Ol/l()) ORDER RE LEAVE TO FILE ACTI()N WITHOUT PREPAYMENT ()F FILING FEE

 

